Case 1:25-cv-01982-PLF   Document 30-3   Filed 06/27/25   Page 1 of 9




         APPALACHIAN VOICES, ET AL v. EPA, ET AL
                         1:25-CV-01982-PLF




                         EXHIBIT 2

                  Appalachian Voices

                         Declaration
       Case 1:25-cv-01982-PLF           Document 30-3         Filed 06/27/25      Page 2 of 9




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

              DECLARATION OF ADAM WELLS, APPALACHIAN VOICES

I, Adam Wells, declare as follows:

       1.      My name is Adam Wells, and I live in Abingdon, Virginia. This declaration is

based on my personal knowledge and professional education and experience. I am over the age

of eighteen and suffer from no legal incapacity. I submit this declaration in support of

Appalachian Voices, which was awarded a Collaborative Problem-Solving Cooperative

Agreement under Clean Air Act Section 138.

       2.      I want Appalachian Voices to be a named plaintiff in this case. I understand that,

as a class representative, it would be my responsibility to represent the interests of all the class

members in this lawsuit, and not just my own personal interests or those specific to Appalachian

Voices. I also understand the need to stay informed about what is happening in the case. I

understand that I agree to represent other nonprofit groups like mine.

       3.      I am the Regional Director of Community and Economic Development at

Appalachian Voices. I have held this position since 2020 and have worked at Appalachian

Voices since 2015. I first got involved with Appalachian Voices as a college student in 2004 in a

volunteer capacity.

       4.      Appalachian Voices is a 501(c)(3) nonprofit organization that works in Central

and Southern Appalachian communities and has offices in North Carolina, Tennessee, and

Virginia. Founded in 1997, Appalachian Voices brings people together to protect the land, air

and water of Central and Southern Appalachia and advance a just transition to a generative and

equitable clean energy economy. Through our New Economy Program, we work to advance

                                                  1
      Case 1:25-cv-01982-PLF          Document 30-3       Filed 06/27/25      Page 3 of 9




economic solutions that create community wealth and sustain Appalachia’s communities and

ecosystems.

       5.      On October 20, 2023, EPA notified Appalachian Voices that it had been selected

to receive an EPA award under the FY2023 Environmental Justice Collaborative Problem-

Solving Cooperative Agreement Program (opportunity # EPA-R-OEJECR-OCS-23-01).

Following this announcement we began our negotiation period. On March 19, 2024, EPA issued

a Cooperative Agreement to Appalachian Voices with an award amount of $500,000. Under the

terms of our grant agreement, Appalachian Voices agreed to complete the project over a 3-year

period ending in January 2027.

       6.      We secured this grant after working over the course of 4 months to prepare our

application. During that time, we built a cohort of 5 communities to develop the project proposal

and had over 25 meetings to work together to build a shared vision.

       7.      Appalachian Voices was awarded this grant to spur community engagement and

cooperation to address legacy environmental and economic challenges across five small

communities in Virginia’s coalfield counties. Coal mining has been the lifeblood of these

communities for generations, providing thousands of jobs and economic prosperity at the

industry’s peak. As the coal industry has declined, these communities have suffered

economically and deal with environmental degradation from abandoned infrastructure and

increased risk from extreme weather events. For example, flooding in the region has intensified

as severe storms encounter degraded land lacking vegetation and creek and stream banks

weakened by erosion and debris.




                                                2
       Case 1:25-cv-01982-PLF          Document 30-3        Filed 06/27/25      Page 4 of 9




       8.      With our awarded funding, we began working with five communities in the

coalfield region of Southwest Virginia to build and model resiliency in the face of economic

difficulties, weather-related disasters and other hurdles by helping them create shovel-ready

projects in their areas, develop toolkits for other communities to replicate these efforts and

produce meaningful, community-led projects for future funding opportunities.

       9.      The project includes the creation of a Coal Community Resilience Planning

Model and Toolkit, development of community engagement and planning, and sustainability

measures. We hosted a series of listening sessions with community members from five Virginia

communities in which community members collaboratively developed a vision for physical

infrastructure projects such as emergency resilience hubs, flood-mitigating river walks, and

public green spaces.

       10.     With our grant funding, the Appalachian Voices New Economy team agreed to

provide technical assistance, project support, and planning expertise to make these projects

shovel-ready. This grant is meant to be the tip of the spear to do deeply impactful work with

these communities over years to come. This EPA-funded investment in developing these projects

is meant to situate these communities to be more competitive for future funding opportunities

and have the capacity to receive transformative funding over the long term.

       11.     We received funding under this agreement under a reimbursement model, which

means that our organization spends our own funds in compliance with our agreements, and in

return, we expect reimbursement for those expenses.




                                                 3
       Case 1:25-cv-01982-PLF           Document 30-3         Filed 06/27/25       Page 5 of 9




        12.     Appalachian Voices has been fully compliant with all grant terms and conditions

and reporting requirements. We received feedback from our EPA program officer speaking to

our exemplary implementation.

        13.     Access to our awarded funding was disrupted starting on January 31, 2025 when

our Automated Standard Application for Payments (ASAP) account was frozen, later reactivated,

and then resuspended.

        14.     On February 22, 2025, we received an email and letter dated February 21, 2025

stating that the Environmental Protection Agency was terminating our Environmental Justice

Collaborative Problem-Solving Cooperative Agreement. The letter stated that the “objectives of

the award are no longer consistent with EPA funding priorities” and “[t]he grant specified above

provides funding for programs that promote or take part in DEI initiatives or environmental

justice initiatives or other initiatives that conflict with the Agency’s policy of prioritizing merit,

fairness, and excellence in performing our statutory functions; that are not free from fraud,

abuse, waste, or duplication; or that otherwise fail to serve the best interests of the United

States.”

        15.     On March 21, 2025, Appalachian Voices submitted a formal appeal disputing the

termination of our assistance agreement.

        16.     Before our grant was terminated, we invested significant organizational and

partner resources into implementing our project in compliance with our grant agreement.

Between February 2024 and February 2025, when our grant was terminated, Appalachian Voices

organized and facilitated 10 listening sessions across five Virginia communities. As a result of

these sessions, each community was in the process of selecting a physical infrastructure project.


                                                   4
       Case 1:25-cv-01982-PLF          Document 30-3           Filed 06/27/25    Page 6 of 9




We committed to working with the communities to get these projects shovel-ready by providing

technical assistance, grant support, and planning expertise with our grant funding.

       17.     This grant termination means that we will no longer have the funding to develop

shovel-ready infrastructure projects in rural Virginia communities that suffer persistent poverty

and are adversely and disproportionately affected by environmental and human health harms and

risks. One of the five Virginia Communities, the unincorporated Town of Pound selected a

project involving addressing dilapidated buildings with mold and asbestos that are impeding

floodplain improvements and developing a flood-mitigating riverwalk. Now that the EPA

funding has been terminated, these plans are in jeopardy. The uncertainty of this project is

particularly dire for Pound, where there is an active debate about whether to remain a state-

chartered town due to economic distress from the decline of the coal industry. Pound’s ability to

bring in tax revenue has been so diminished by economic decline that its ability to pay its bills is

a continual struggle. The continuation of funding for this project would provide vital resources

for the town at a time when its very existence is uncertain.

       18.     Dante is a tiny coal camp and unincorporated community in Russell County with

a population of 650. Parts of Dante are in the 97th percentile for flood risks and the town falls in

the 99th percentile for unemployment rates. In 2016, community members formed the Dante

Community Association, a group of residents, organizations, and businesses striving to transform

the town. Appalachian Voices has worked closely with local leadership to actualize Dante’s

Downtown Master Plan. With our grant funding, we planned to support the planning and design

of improvement to the Dante Depot, a historic community hub, in furtherance of the building’s

energy and emergency resilience.




                                                  5
      Case 1:25-cv-01982-PLF           Document 30-3        Filed 06/27/25     Page 7 of 9




       19.     Now that our Environmental Justice Collaborative Problem-Solving Cooperative

Agreement has been terminated, community members and leaders lack grant support, technical

assistance, and planning expertise to develop critical infrastructure projects that would provide

essential social, economic, and environmental services. At the time of termination, we were

entering into the second phase of the project period which would have advanced approximately

$300,000 toward these community-benefiting projects.

       20.     In working with Appalachian communities that have experienced years of

systemic underinvestment and have been left out of opportunities, I am mindful of the fatigue

and distrust that community members can feel when well-meaning entities ask them to commit

their time and energy to a project and later disengage when the federal government abruptly cuts

off funding without reason or explanation. These cycles of broken commitments have resulted in

the erosion of trust, a dynamic we have worked hard to restore. Despite receiving the news that

our grant had been terminated, we made the organizational decision to proceed with the next

phase of listening sessions. It was of critical importance that we uphold our commitment to each

of the communities, even if those activities would not be supported by EPA funds. During the

first of these sessions, community members expressed feeling like their time had been wasted

now that the funding has been terminated by the EPA. I worry about the impact EPA’s decision

to terminate this grant will have on the trust we have spent years building with community

members.

       21.     Appalachian Voices has continued with listening sessions in the five Virginia

communities, but is now having to fund this work with its general operating budget.

       22.     Appalachian Voices has invested significant staff time and resources into

implementing this project. Three staff members worked on program implementation

                                                 6
       Case 1:25-cv-01982-PLF          Document 30-3         Filed 06/27/25     Page 8 of 9




approximately 50% of their time, and four staff members have played supporting roles. In March

2025 a staff person who was part of the three-person program implementation team left the

organization. We still have a vacancy on our team due to this departure and have been hesitant to

fill the now-empty role due in part to the loss of this funding.

       23.     Since our grant was terminated, my team and I have been forced to direct our

attention and time to navigating the programmatic and administrative impacts of the termination.

This has been a significant diversion that has slowed down other programmatic work.

       24.     I am also concerned about the impact of this grant termination on Appalachian

Voices’ ability to fundraise in the future. A key to successful fundraising is having impactful

work. If our grants are terminated, we risk not being able to successfully carry out our funded

programs.

       25.     It has been challenging to lead my team through the loss of this grant. The

uncertainty of what comes next for this program has impacted morale. Staff have confided in me

that they are worried about the security of their jobs and whether there will be layoffs.

       26.     If our Environmental Justice Collaborative Problem-Solving Cooperative

Agreement is reinstated, Appalachian Voices will be able to ensure the continuation of our work

with five towns in the coalfield region of Southwest Virginia to address legacy environmental

and economic challenges. We would put this funding to use immediately by completing the

remaining planning process and rapidly shifting to project implementation of the projects

communities have identified through the Environmental Justice Collaborative Problem-Solving

process.




                                                  7
Case 1:25-cv-01982-PLF   Document 30-3   Filed 06/27/25   Page 9 of 9
